      Case 3:21-cv-04036-LC-HTC Document 11 Filed 03/07/22 Page 1 of 2


                                                                            Page 1 of 2

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION



CHARLES LEE MOULTRIE, JR,
      Plaintiff,

v.                                                     Case No. 3:21cv4036-LC-HTC

PATRICIA D KELLY,
JOHN A FOX,
      Defendants.
______________________/
                                     ORDER

      The magistrate judge issued a Report and Recommendation on February 1,

2022 (ECF No. 8).       The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title

28, United States Code, Section 636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined it

should be adopted.



      Accordingly, it is ORDERED:

      1.     The magistrate judge’s Report and Recommendation (ECF No. 8) is

adopted and incorporated by reference in this order.


Case No. 3:21cv4036-LC-HTC
      Case 3:21-cv-04036-LC-HTC Document 11 Filed 03/07/22 Page 2 of 2


                                                                    Page 2 of 2

      2.    This case is DISMISSED WITHOUT PREJUDICE for lack of

jurisdiction based on the Younger abstention doctrine and also for failure to

comply with this Court’s orders.

      3.    The clerk of court is directed to close this case.

      DONE AND ORDERED this 7th day of March, 2022.



                                    s/L.A. Collier
                                   LACEY A. COLLIER
                                   SENIOR UNITED STATES DISTRICT JUDGE




Case No. 3:21cv4036-LC-HTC
